                                       Case 19-50215       Doc 32              FORM 1Entered 04/12/19 16:22:51
                                                                   Filed 04/12/19                                                        Desc      PagePage
                                                                                                                                                        1 No:        1
                                                           INDIVIDUAL ESTATE PROPERTY
                                                                                   of 2RECORD AND REPORT
                                                                            ASSET CASES

Case No.:                      19-50215                                                                                         Trustee Name:                        Walter W. Kelley
Case Name:                     BURNET, RONALD GENE AND BURNET, DEBRA KAE                                                        Date Filed (f) or Converted (c):     02/06/2019 (f)
For the Period Ending:         03/31/2019                                                                                       §341(a) Meeting Date:                03/04/2019
                                                                                                                                Claims Bar Date:                     06/27/2019
                                   1                                  2                       3                           4                        5                                     6

                       Asset Description                         Petition/           Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                         Unscheduled          (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                      Value                    Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

Ref. #
1        2491 Boxankle Rd Forsyth GA 31029-4429                     $331,000.00                    $85,481.82                                           $0.00                                $331,000.00
2        2013 Ford Explorer 2WD FFV Mileage: 100000                  $14,950.00                      $4,386.21            OA                            $0.00                                        FA
3        Make: Ford Model: F250 Year: 2003 Mileage:                    $500.00                           $0.00                                          $0.00                                        FA
         17500
4        Year: 2006 Other Information: Doolittle Cargo                $2,000.00                          $0.00                                          $0.00                                        FA
         Trailer
5        Make: Ford Model: F150 Pickup 4WD Year:                      $1,000.00                          $0.00                                          $0.00                                        FA
         2003 Mileage: 200000
6        Make: Lexus Model: RX 300 Year: 2003                         $2,000.00                          $0.00                                          $0.00                                        FA
7        2 computers                                                   $100.00                        $100.00                                           $0.00                                        FA
8        cell phines                                                   $200.00                        $200.00                                           $0.00                                        FA
9        clothes                                                       $400.00                           $0.00                                          $0.00                                        FA
10       Wedding Ring, and costume jewelry                            $1,500.00                          $0.00                                          $0.00                                        FA
11       Checking Account Ally                                            $35.00                         $0.00                                          $0.00                                        FA
12       Checking Account Robins Financial Credit                      $160.00                           $0.00                                          $0.00                                        FA
         Union
13       Checking Account Comerica                                         $0.00                         $0.00                                          $0.00                                        FA
14       Checking Account Comerica                                         $0.00                         $0.00                                          $0.00                                        FA
15       Checking Account Morris State Bank                            $840.00                           $0.00                                          $0.00                                        FA
16       401(k) or Similar Plan Trade PMR                            $22,416.79                          $0.00                                          $0.00                                        FA
17       401(k) or Similar Plan Wells Fargo                           $8,293.99                          $0.00                                          $0.00                                        FA
18       Company name: Beneficiary: Surrender or refund               Unknown                            $0.00                                          $0.00                                        FA
         value: Contract rights in Term policies through
         employer Debtors unknown
19       Dogs $20                                                         $20.00                         $0.00                                          $0.00                                        FA


TOTALS (Excluding unknown value)                                                                                                                                         Gross Value of Remaining Assets
                                                                 $385,415.78                        $90,168.03                                           $0.00                               $331,000.00
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                                                                                                                                                                    2 No:        2
                                                                   INDIVIDUAL ESTATE PROPERTY
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Case Name:                   BURNET, RONALD GENE AND BURNET, DEBRA KAE                                                                      Date Filed (f) or Converted (c):     02/06/2019 (f)
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                     Asset Description                                    Petition/              Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
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                 Unscheduled (u) Property)                                 Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                               Less Liens, Exemptions,
                                                                                                  and Other Costs)


Major Activities affecting case closing:
 03/13/2019    Real Estate Equity at 2491 Boxankle Road, Forsyth, Ga.


Initial Projected Date Of Final Report (TFR):        03/03/2021                       Current Projected Date Of Final Report (TFR):       03/03/2021               /s/ WALTER W. KELLEY
                                                                                                                                                                   WALTER W. KELLEY
